                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:11-cr-00195-2MOC

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
                                                 )
Vs.                                              )                        ORDER
                                                 )
DETRICK RAYSHAWN GADDY,                          )
                                                 )
                 Defendant.                      )



       THIS MATTER is before the court on defendant’s letter filed July 17, 2013, which the

court deemed to be a Motion for Sentence Reduction under Rule 35, Federal Rules of Criminal

Procedure (#45), the court’s Castro Order advising defendant of his rights and the consequences

of treating such letter as a Section 2255 motion, and defendant’s timely responsive letter (#48).

In his responsive letter, defendant states that he does not wish to have his previous letter treated

as a Section 2255 motion. Based on such response, the court will not construe such letter as a

Section 2255 motion, but, as defendant suggests, deem such earlier letter to have been submitted

for informational purposes only.


                                             ORDER

       IT IS, THEREFORE, ORDERED that the letter filed July 17, 2013, previously

deemed to be a Motion for Sentence Reduction under Rule 35, Federal Rules of Criminal

Procedure (#45), is denied without prejudice as moot and is accepted for informational

purposes only.



                                                     1

       Case 3:11-cr-00195-MOC            Document 49        Filed 08/16/13      Page 1 of 2
    Signed: August 15, 2013




                                    2

Case 3:11-cr-00195-MOC        Document 49   Filed 08/16/13   Page 2 of 2
